         Case 5:20-cv-00672-MHH-GMB Document 49 Filed 07/08/22 Page 1 of 2                            FILED
                                                                                              2022 Jul-08 AM 08:12
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                       UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                          NORTHEASTERN DIVISION

    ADRIAN BAKER,                                )
                                                 )
          Plaintiff,                             )
                                                 )
    v.                                           )    Case No. 5:20-cv-672-MHH-GMB
                                                 )
    JEFFERSON DUNN, et al.,                      )
                                                 )
          Defendants                             )

                       MEMORANDUM OPINION AND ORDER

          Plaintiff Adrian Baker filed a pro se complaint and amended complaint

pursuant to 42 U.S.C. § 1983. Ms. Baker alleges violations of her rights under the

Constitution of the United States. Docs. 1 & 7. Ms. Baker names the following

defendants in her complaint: Commissioner Jefferson Dunn, Dr. Tytell, Dr. Stone,

Wexford Health Sources, Inc., and the Gender Dysphoria Management Committee.

Doc. 1, p. 3. 1

          On June 8, 2022, the Magistrate Judge entered a report in which he

recommended that that the Court grant the defendants’ motions for summary




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 The original Order for Special Report (Doc. 10) did not construe Ms. Baker’s complaint as stating
a claim against Warden Toney. Ms. Baker failed to notify the Court that it had misconstrued her
claims, as the order directed, but later filings have made clear that she intended to sue Warden
Toney. For this reason, the Magistrate Judge entered a second Order for Special Report (Doc. 47)
and directed the Clerk of Court to add Warden Toney as a defendant. The Magistrate Judge’s
report and recommendation does not address the claim pending against Warden Toney.
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judgment. Doc. 48. The Magistrate Judge advised the parties of their right to file

specific written objections within 14 days, but the Court has not received objections.

      Having reviewed Ms. Baker’s allegations and the Magistrate Judge’s report,

the Court accepts the Magistrate Judge’s recommendation. Consistent with that

recommendation, the Court grants the defendants’ motions for summary judgment

and dismisses the claims against the defendants.

      The Court refers Ms. Baker’s claim against Warden Toney to the Magistrate

Judge for further proceedings.

             DONE and ORDERED this July 7, 2022.


                                    _________________________________
                                    MADELINE HUGHES HAIKALA
                                    UNITED STATES DISTRICT JUDGE




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